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                         IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF PENNSYLVANIA

     UNITED STATES OF AMERICA,                          )
                                                        )
     ex rel. SARAH BEHNKE,
                                                        )
                                                        )       Civil Action No. 2:14-cv-00824 MSG
                             Plaintiff-Relator,
                                                        )
                                                        )
                    v.
                                                        )
                                                        )
     CVS CAREMARK                                       )
     CORPORATION, et al.,                               )
                                                        )
                             Defendants.                )
                                                        )
                                                        )

                          JOINT STIPULATION AND [PROPOSED] ORDER

           Relator Sarah Behnke (“Relator”), by and through her undersigned attorneys, and CVS

Caremark Corp., Caremark Rx, L.L.C. (f/k/a Caremark Rx, Inc.) 1, CaremarkPCS Health, L.L.C.,

and Silverscript Insurance Company (“Defendants”), by and through their undersigned attorneys,

hereby stipulate and agree as follows:

           1.      The undersigned counsel for Defendants agree on behalf of Defendants to accept

service of the Summons and Complaint via electronic mail. Except as to service of process,

Defendants expressly reserve the right to challenge the Complaint on any and all grounds.

           2.      Defendants shall answer or move to dismiss the Complaint by July 31, 2018. If

Defendants file a motion to dismiss, any brief in support thereof shall be limited to 30 pages in

length.

           3.      Relator shall file an opposition to any motion to dismiss by October 1, 2018. Any

opposition brief filed by Relator shall be limited to 30 pages in length.



1
    The Complaint names this party as CVS Caremark Rx, L.L.C. (f/k/a Caremark Rx. Inc.).
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       4.      Defendants may file a reply in support of any motion to dismiss. Any reply brief

shall be filed by October 31, 2018, and shall be limited to 15 pages in length.

       WHEREFORE, the parties respectfully request that the Court endorse and enter this Joint

Stipulation.

Dated: June 15, 2018                                 Respectfully submitted,



 BERGER & MONTAGUE, P.C.                           WILLIAMS & CONNOLLY LLP

 /s/ Susan Schneider Thomas                          /s/ Craig D. Singer

 Susan Schneider Thomas (PA 32799)                 Craig D. Singer (PA ID No. 71394)
 1622 Locust Street                                725 Twelfth Street, N.W.
 Philadelphia, PA 19103                            Washington, DC 20005
 Telephone: (215)875-5711                          Telephone: (202) 434-5000
 Email: sthomas@bm.net                             Facsimile: (202) 434-5029

 Counsel for Relator                               Counsel for Defendants




SO ORDERED.

Date: ________________________                ________________________________________
                                              UNITED STATES DISTRICT JUDGE
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing JOINT STIPULATION AND

[PROPOSED] ORDER has been served upon counsel of record by using the Court’s electronic

filing system (“EFS”) on June 15, 2018.

                                                /s/ Susan Schneider Thomas

                                                Susan Schneider Thomas
